Case 1:13-CV-01501-WTL-I\/|.]D Document 177-6 Filed 10/31/17 Page 1 of 5 Page|D #: 4919

 

Exhibit E

Case 1:13-CV-015Ol-WTL-I\/|.]D Document 177-6 Filed 10/31/17 Page 2 of 5 Page|D #: 4920
Case 1:13-cv~01501~V\/TL~MJD Document153~5 Filed 12/16/16 Page 2 of 5 Page|D #: 3107

KEOGH LAW

 

 

CLASS ACTION AUTHORIZATION

Subject of representation: Katherine Lanteri (CLIENT) retains and authorizes KEOGH
LAW, LTD., PH!LIPPS & PHlLlPPs, LTI), and STEVEN J. HALBERT (colleetively “attorney”) to
(i) investigate potential claims and defenses against Credit Protection Association LP and /or
Comcast (DEFENDANTS) concerning violations of the Telephone Consumer Protection Act
against both defendants and violations of the Fair Debt Collections Protection Act against Credit
Protection and (ii) if the attorneys' investigation shows that such a claim would have merit and that
filing suit is appropriate, to tile suit.

Client acknowledges that attorney has not made any promise or prediction to Client about
the outcome of Client's claims or causes of action.

Fees. Client and the Attorneys agree that, subject to the exception set forth below, any fee
for the Attorneys' services to Client or the class will be contingent upon effecting a recovery or
successful result from the parties against whom the claims are brought. Client understands,that
Attorneys will advance all costs necessary for prosecution of Client’s claims (to the extent
applicable law and ethics rules allow), and will not bill or charge Client for any such costs. Client
understands that, subject to the exception identified below, these costs Will be repaid to Attorneys
solely out of any settlement, judgment or award, after the attorneys’ fees have been deducted.
Client further understands that Attorneys will pay any or all of Defendants’ costs (to the extent
applicable law and ethics rules allow) in the unlikely event that the Court orders such, if our
litigation is unsuccessful.

Attorneys will receive the greater of (a) one-third (33 and 1/3%) of the total settlement
proceeds, award orjudgment, if any; or (b) the full amount of any attorneys’ fees designated in the
settlement, award or judgment or otherwise awarded by a decision maker in the case. Client
understands that this fee is not set by law and is negotiable between Attorneys and Client. Client
understands that no settlement of Client’s individual claims will be made without Client’s
approval. Client agrees not to waive in whole or in part the right to recover attorneys’ fees and/or

Keogh Law, Ltd. 55 W. Monroe St., Ste.3390 Chicago,lL 60603 312.726.\092(Main)/l 312.726.1093 (Fax) l(eoghlaw com

      

CONF|DENT|AL ~ SUBJECT TO PROTECT|\/E ORDER Lanteri_0000153

Case 1:13-CV-015Ol-WTL-I\/|.]D Document 177-6 Filed 10/31/17 Page 3 of 5 Page|D #: 4921
Case l:lS-cv-OlSOl~WTL~l\/UD Document 153-5 Filed 12/16/16 Page 3 of 5 Page|D #: 3108

costs as a condition of settlement Attorneys shall not be entitled to payment of attorneys’ fees
unless Attorneys’ efforts result in the provision of monetary and/or injunctive relief.

The normal hourly rate is $450.00 for Keith J. Keogh, $375.00 for Craig Shapiro, $350.00
for Timothy Sostrin and $200.00 for Katherine Bowen. The normal hourly rate is $505 for David
Philipps, $495 for Mary Philipps and $425 for Steven J. Halbert. These rates will be adjusted

Exception for Individual Settlement Against Attorneys’ Advice: If Client abandons
the class and settles on an individual basis against the advice of Attorneys, Client shall be
obligated to pay Attorneys their normal hourly rates for the time they expended in the case, and
shall be obligated to reimburse the Attorneys for all expenses incurred.

Other Counsel. Client acknowledges and agrees that attorney may retain co-counsel or
local counsel to represent Client. ln such an event, these lawyers will be compensated out of the
fees paid to attorneys and such representation will not affect Client’s recovery.

Expenses or Costs. The attorneys will advance costs and litigation expenses, repayable
only from a recovery, except that if Client abandons the case or settle the case for an individual
Settlement Against Attorneys’ Advice as set forth above, Client shall reimburse the attorneys for
expenses. Expenses and costs include, but are not limited to: court filing fees, fees for service of
process, messenger services, long distance telephone, telecopier services, expert and consultants
fees, computer services, photocopying expenses, travel, computerized legal research, and court

reporter's fees. Client will not have to pay fees or expenses of prosecution to Client’s attorneys
except as stated above. -

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Assignment of right to fee awards Client assigns to the attorneys all rights conferred by
statute or rule to recover attorneys' fees from Defendant.

Statute of limitations: There are short time frames provided by law for the filing of claims
with some that expire within a year. lt is essential that this form be returned as soon as possibie.

Client responsibilities: Client recognizes and agrees that Client will have to cooperate
with the attorneys in the prosecution of the defenses and claims, by appearing at trial or at a
deposition and providing documents and information Such testimony will frequently take l to
l-l/2 days. Client also recognizes that the attorneys do not guarantee a favorable result, or that
Client can obtain compensation for serving as class representative, although the attorneys will use
their best efforts to achieve those results.

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Case 1:13-CV-015Ol-WTL-I\/|.]D Document 177-6 Filed 10/31/17 Page 4 of 5 Page|D #: 4922
Case l:lS~cv-Ol501-WTL~MJD Document 153-5 Filed 12/16/16 Page 4 of 5 Page|D #: 3109

Finally, Client agrees that in the event the attorneys file a claim on behalf of a class, it is the

responsibility cf Client as class representative to prosecute the action for not only Client's own
benefit but for the benefit of the other class members

Client is to advise the attorneys in advance of seeking any further relief under the
bankruptcy laws (which may result in transfer of Client’s claim to a trustee).

 

Communication Via E-mail: ln the Attorneys’ experience, it is often necessary to
communicate with the CLIENT in writing Communications that the LAW FIRM would
ordinarily make to the CLIENT by letter can often be made more quickly by email. However,
there may be risks associated with email communication The LAW FIRM has no control over
the computer networks and systems through which messages between the LAW FIRM and
CLIENT pass, or over the computer system networks and systems CLIENT uses to receive and
store emails sent by the LAW FIRM. Accordingly, it is impossible for the LAW FIRM to ensure
that confidential communications between the LAW FIRM and CLIENT will not be seen or
intercepted by third-parties. Nevertheless, the CLIENT wishes to authorize the LAW FIRM to
communicate with CLIENT by email as has been done already.

Competing Suits - Attorneys will not represent any other plaintiff in any other suit against
the above defendants without promptly notifying the other team members of their intent to do so.
ln the event that any member of the team participates in any other class action involving the same
claims and against the above defendants that suit is subject to the provisions of this agreement as if
that action had been filed with the matter identified in this agreement

Sharing of Work - The Attorneys anticipate that they will equally be responsible for this
matter and allocate work by agreement

Contemporaneous Records ~ Each Attorney agrees to keep detailed, contemporaneous
records of all billable time expended and all necessary costs, disbursements and expenses incurred
in these cases, and maintain separate records of such time and costs for each matter. The
attorneys will periodically exchange estimates of time expended in order balance the work load as
envisioned by this agreement

Support for Reeovery of Costs, Litigation Expenses, and Fees ~ All Attorneys agree to
fully cooperate and support each other's motions for fees and expenses in accordance with
applicable law, if necessary.

Dispute Resolution ~ Any dispute between the ATTORNEYS to this Agrecment must be
subject of arbitration before a single arbitrator in accordance with the rules of JAMS. The

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Case 1:13-CV-015Ol-WTL-I\/|.]D Document 177-6 Filed 10/31/17 Page 5 of 5 Page|D #: 4923
Case l:lS-cv~OlSOl-WTL-l\/|JD Document153-5 Filed 12/16/16 Page 5 of 5 PagelD #: 3110

arbitrators fees and any' other common expense will bc'shared~equally by the..»parties, except the
arbitrator Will order that the reasonable expenses (ether than =attorney's' feee) of the prevailing
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CLIENT.

 

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